
26 N.Y.2d 981 (1970)
Robert F. Lima, Appellant,
v.
Chrysler Corporation, Respondent.
Court of Appeals of the State of New York.
Submitted March 30, 1970.
Decided April 16, 1970.
Robert F. Lima, pro se, and Copal Mintz for motion.
Clark J. Gurney opposed.
Motion denied. Two separable questions are raised by this motion for leave to appeal from an order of the Appellate Division dismissing an appeal to that court for failure to prosecute: (a) finality, and (b) the existence of a question of law reviewable *982 by this court. The order is final, but it turns on the exercise of discretion by the Appellate Division which, except in circumstances not present on this record, would not be reviewable by this court.
